Case 3:17-cv-00101-RDM Document 163-8 Filed 01/17/19 Page 1 of 9




             EXHIBIT 8
      Case 3:17-cv-00101-RDM Document 163-8 Filed 01/17/19 Page 2 of 9
                                                                    Exhibit 8



          IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,

            Plaintiff,                      Case No. 3:17-CV-00101-RDM
                                            (Hon. Robert D. Mariani)
            v.

Navient Corporation, et al.,

            Defendants.

                 PLAINTIFF’S THIRD
   SUPPLEMENTAL AND AMENDED INITIAL DISCLOSURES

      Pursuant to Rules 26(a)(1)(A) and 26(e)(1) of the Federal Rules of

Civil Procedure, the Bureau provides the following information to

supplement and amend the initial disclosures served upon Defendants

Navient Corporation, Navient Solutions, LLC (“Navient” or “Navient

Solutions”), and Pioneer Credit Recovery, Inc. (“Pioneer”) on May 10, 2017

(“Opening Disclosures”); the first supplement served on October 20, 2017

(“First Supplement”); and the second supplement served on February 27,

2018 (“Second Supplement”). The Bureau reserves the right to clarify,

revise, or correct any of its disclosures, and may provide further

supplementation as appropriate under Federal Rule of Civil Procedure

26(e). No information contained in these disclosures should be construed

as a waiver of any applicable privilege, including, but not limited to, the
      Case 3:17-cv-00101-RDM Document 163-8 Filed 01/17/19 Page 3 of 9




attorney work product privilege, the attorney-client privilege, or the

deliberative process privilege.

I.    Rule 26(a)(1)(A)(i): “the name and, if known, the address
      and telephone number of each individual likely to have
      discoverable information—along with the subjects of that
      information—that the disclosing party may use to support
      its claims or defenses, unless the use would be solely for
      impeachment”

      The individuals described below are likely to have discoverable

information that the Bureau may use to support its claims. Because

discovery in this action is ongoing, any description of an individual’s

knowledge or information should not be read to limit the subject matter(s)

about which particular individuals may have discoverable information.

      A.    Current and Former Employees of Defendants

      As previously communicated to Defendants, the Bureau has removed

Morgan Anderson from its Second Supplement. With respect to the three

other former employees identified in the Second Supplement, the scope of

their information and knowledge is supplemented to include all testimony

relating to the claims in this case that they provided at their depositions.

      In addition, the Bureau adds the names of the following current and

former employees, who have the information and knowledge that includes
            Case 3:17-cv-00101-RDM Document 163-8 Filed 01/17/19 Page 4 of 9




  the testimony that they provided at their depositions relating to the claims

  in this case: Johnathan Powell, Nicole Garnett, Bob Montgomery, Jennifer

  Domenick, Brad Jones, Robert Sommer, Kevin Woods, Patricia Potomis,

  Brian Lanham, Hans Stullken, Mike Sheikh, and Holli Jeckel. These

  witnesses can be contacted through Defendants’ counsel.

            Finally, the Bureau adds the following former employees:

Name          Contact       Date of        Description of Information or Knowledge
              Information** Interview
Janet                       October 2018   Ms. Oliver, formerly a Servicing Specialist I, has
Oliver                                     information and knowledge concerning call center
                                           practices regarding communications with
                                           borrowers, including that call handle time was
                                           regularly tracked; that there was pressure to reduce
                                           call time; that she and her co-workers understood
                                           that it was often difficult to meet call time targets
                                           and give borrowers adequate information about
                                           repayment options; and that she received feedback
                                           to not overeducate borrowers about repayment
                                           options as a means of reducing call time.
Jamie                        October and   Ms. Keenan, formerly a Collections Specialist II, has
Keenan                       November      information and knowledge concerning call center
                             2018          practices regarding communications with
                                           borrowers, including that she and others placed
                                           borrowers’ loans into forbearance without
                                           adequately advising them about repayment options
                                           such as IDR plans; that collectors were motivated
                                           by their bonuses to resolve as many delinquencies
                                           as possible, and using forbearance was often a fast
                                           means to do so; and that at the end of the month,
                                           when collectors knew they were short on hitting
                                           their targets, use of forbearance increased as a way
                                           to quickly resolve accounts.
Kyle                         October and   Mr. Pattinson, formerly a Collections Specialist I,
Pattinson                    November      has information and knowledge concerning call
                             2018          center practices regarding communications with
                                           borrowers, including that the training,
                                           compensation, and actual practice for resolving
                                           delinquent accounts focused on obtaining a
                                           payment and/or placing a borrower in deferment or
                                           forbearance.
           Case 3:17-cv-00101-RDM Document 163-8 Filed 01/17/19 Page 5 of 9




Ana                         October 2018   Ms. Quinones, formerly a Collections Specialist I,
Quinones                                   has information and knowledge concerning call
                                           center practices regarding communications with
                                           borrowers, including that the process for resolving
                                           accounts was focused more heavily on placing
                                           borrowers in forbearance than IDR, and that agents
                                           had the incentive to use forbearance versus IDR to
                                           resolve accounts.

  ** Please serve witnesses at listed addresses, and not at places of
  employment.
           B.   Consumers

           As previously communicated to Defendants, the Bureau has removed



  from its Second Supplement. With respect to the other consumers

  identified in the Second Supplement, the scope of their information and

  knowledge is supplemented to include all testimony relating to the claims

  in this case that they provided at their depositions.

           C.   Federal and State Government Agencies

           The Bureau indicated in its Opening Disclosures that the U.S.

  Department of Education may have discoverable information that the

  Bureau may use to support its claims. The Bureau now adds the names of

  the following employees of the U.S. Department of Education, who have the

  information and knowledge that includes the testimony that they provided

  at their depositions relating to the claims in this case: Cynthia Battle, Mark
      Case 3:17-cv-00101-RDM Document 163-8 Filed 01/17/19 Page 6 of 9




LaVia, Lisa Tessitore, and John Kane. These individuals can be contacted

through Assistant U.S. Attorney Joshua Kolsky, who represented them in

connection with their depositions.

      D.      Bureau Employees

      As previously communicated to Defendants, the Bureau has removed

Theresa Ridder from its Opening Disclosures.

II.   Rule 26(a)(1)(A)(ii): “a copy—or a description by category
      and location—of all documents, electronically stored
      information, and tangible things that the disclosing party
      has in its possession, custody, or control and may use to
      support its claims or defenses, unless the use would be
      solely for impeachment”
      In addition to the categories of documents identified in the Opening

Disclosures, the Bureau may use the following categories of documents,

electronically stored information, and tangible things to support its claims

or defenses:

      • Transcripts of depositions conducted during this litigation

           (including the exhibits to those depositions).

      • Documents (including electronically stored information) and

           responses to interrogatories produced by the Bureau to

           Defendants.
       Case 3:17-cv-00101-RDM Document 163-8 Filed 01/17/19 Page 7 of 9




      • Documents (including electronically stored information) produced

         to the Bureau by the i3 Group and subsequently re-produced by

         the Bureau to Defendants.

      • Documents (including electronically stored information) obtained

         by Defendants from the U.S. Department of Education and

         subsequently re-produced by Defendants to the Bureau.

      • Documents (including electronically stored information) and

         responses to interrogatories produced by Defendants in this

         litigation.

      • Documents produced by borrowers to the Bureau and

         subsequently re-produced by Defendants, as well as documents

         produced by borrowers to Defendants and subsequently re-

         produced to the Bureau.

All of the foregoing categories of documents, as well as the categories of

documents identified in the Opening Disclosures, are located at the

Bureau’s offices at 1990 K Street, NW, Washington DC 20006, and at 1700

G Street, NW, Washington DC 20552. The addresses listed in the Opening

Disclosures are no longer valid.
     Case 3:17-cv-00101-RDM Document 163-8 Filed 01/17/19 Page 8 of 9




Dated: November 9, 2018     Kristen Donoghue
                            Enforcement Director

                            David Rubenstein
                            Deputy Enforcement Director

                            Thomas Kim
                            Assistant Deputy Enforcement Director

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      Case 3:17-cv-00101-RDM Document 163-8 Filed 01/17/19 Page 9 of 9




                     CERTIFICATE OF SERVICE

      I certify that on November 9, 2018, I served the foregoing document

by email to the following counsel for Defendants:

      Jonathan Paikin: jonathan.paikin@wilmerhale.com
      Daniel P. Kearney, Jr.: Daniel.kearney@wilmerhale.com
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Mr. Kearney, on behalf of Defendants, previously consented to electronic

service.



                                  _/s/ Nicholas Jabbour_________
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